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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 1:16-cv-24431-CMA-Altonaga/McAliley


   GOLTV, INC., and GLOBAL SPORTS
   PARTNERS LLP,

                                       Plaintiffs,

                           -v.-

   FOX SPORTS LATIN AMERICA, LTD., PAN
   AMERICAN SPORTS ENTERPRISES
   COMPANY, d/b/a FOX SPORTS LATIN
   AMERICA (individually and as successor to FOX
   PAN AMERICAN SPORTS LLC), FOX
   INTERNATIONAL CHANNELS (US), INC.,
   FOX NETWORKS GROUP, INC. (as successor to
   FOX INTERNATIONAL CHANNELS (US),
   INC.), CARLOS MARTINEZ, HERNAN LOPEZ,
   JAMES GANLEY, T&T SPORTS MARKETING
   LTD., TORNEOS Y COMPETENCIAS, S.A.,
   ALEJANDRO BURZACO, EUGENIO
   FIGUEREDO, and JUAN ANGEL NAPOUT,

                                       Defendants.


                                    JOINT STATUS REPORT

         Pursuant to the Court’s Order of August 2, 2018 [ECF 451], the parties submit this report

  advising the Court of the status of the government’s related criminal investigation.

         The government has advised the parties of the following: “The status has not changed

  from the EDNY perspective, for the reasons set forth in [the previous status report].” In the last

  status report, the government advised: “[O]ur investigation remains ongoing, and the concerns

  EDNY raised in connection with discovery disputes pending at the time the stay was

  implemented have not been alleviated.”



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                                            Respectfully submitted,



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                                  CERTIFICATE OF SERVICE

         I hereby certify that on February 1, 2019, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel of record via transmission of Notices of Electronic Filing

  generated by CM/ECF.

                                                               /s/ Jay B. Shapiro
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